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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

 SCANNING TECHNOLOGIES                           §
 INNOVATIONS LLC,                                §
                                                 §
         Plaintiff,                              §      Case No:
                                                 §      2:22-cv-01157-SDW-JSA
 vs.                                             §
                                                 §      REQUEST FOR ENTRY OF
 PEGASUS U.S.A., LLC,                            §      DEFAULT
                                                 §
         Defendant.                              §
                                                 §



Plaintiff, SCANNING TECHNOLOGIES INNOVATIONS LLC, hereby requests the Clerk to

enter a default against the defendant, PEGASUS U.S.A., LLC, on the basis that the record in this

case demonstrates that there has been a failure to plead or otherwise defend as provided by Rule

55(a) of the Federal Rules of Civil Procedure.

Dated: 07/28/2022                                    Respectfully Submitted

                                                     /s/ Mark A. Kriegel______
                                                     Attorney for Plaintiff,
                                                     Scanning Technologies Innovations LLC
